                                                    Clear Form
DOCUMENTS UNDER Case5:15-cr-00226-EJD
                 SEAL                      Document3                   Filed05/13/15   Page1
                                                                           TOTAL TIME (m ins): of22
                                                                                                  1 min
M AGISTRATE JUDGE              DEPUTY CLERK                                          REPORTER/FTR
M INUTE ORDER                 Lili M. Harrell                                       FTR: 1:40pm - 2:02pm
MAGISTRATE JUDGE               DATE                                                  NEW CASE         CASE NUMBER
Nathanael Cousins                         May 13, 2015                                                15-cr-00226 BLF
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.     RET.
Douglas Stroms York                                 Y        P       Graham Archer                           APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT              COUNSEL APPT'D
Bill Gullotta                                                                      SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR               PARTIAL PAYMENT
                             Kim Do                                  APPT'D COUNSEL                 OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                             STATUS
                                                                                                               TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING              IA REV PROB. or            OTHER
                                                                                    or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA               PROB. REVOC.               ATTY APPT
                                                                                                               HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS                OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY        SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                          DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED          RELEASED        DETENTION HEARING               REMANDED
      FOR             SERVICES                                                   AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                         FILED
                                                        CONTINUANCE
TO:                              ATTY APPT                 BOND                    STATUS RE:
5/18/2015                        HEARING                   HEARING                 CONSENT                   TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY            CHANGE OF                 STATUS
                                 AFFIDAVIT                  HEARING                PLEA
1:30pm                                                      _____________
BEFORE HON.                      DETENTION                  ARRAIGNMENT             MOTIONS                  JUDGMENT &
                                 HEARING                                                                     SENTENCING
Cousins
       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL                CONFERENCE                HEARING
                                 3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS
Court grants Govt's oral motion to unseal the case. Parties provide proffer regarding motion for detention. Based on the
information provided, the Court detains defendant and sets detention hearing.

                                                                                         DOCUMENT NUMBER:
